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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                 )
 UNITED STATES OF AMERICA                        )
                                                 )
                     v.                          )        Criminal No. 17-201 (ABJ)
                                                 )
 PAUL J. MANAFORT, JR.,                          )
                                                 )
                          Defendant.             )
                                                 )

  DEFENDANT PAUL J. MANAFORT JR.’S MOTION FOR A CHANGE OF VENUE

        Defendant Paul J. Manafort, Jr., by and through counsel, files this motion for a change of

venue. Mr. Manafort makes his motion based upon his Sixth Amendment right to trial by an

impartial jury and pursuant to Rule 21of the Federal Rules of Criminal Procedure.

        1. Pretrial Publicity

        The investigation into “any links and/or coordination between the Russian government and

individuals associated with the campaign of President Donald Trump” and “any matters that arose

or may arise directly from the investigation” has dominated the news cycle in the United States at

least since the moment of Mr. Mueller’s appointment as Special Counsel on May 17, 2017. See

May 17, 2017 Appointment Order. From the outset, a significant portion of the media coverage

has focused on Mr. Manafort – the first individual indicted by the Special Counsel and the first

individual to be convicted at trial.

        While federal courts often address issues of pretrial publicity in high-profile cases, it is

difficult to conceive of a matter that has received media attention of the same magnitude as the

prosecution of Mr. Manafort. There are several reasons for this unrelenting news coverage.
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          First, the Special Counsel investigation focuses on issues relating to a sitting United States

President. Unsurprisingly, then, the nation’s attention remains fixed on Mr. Manafort.

          Second, the subject matter of the Special Counsel’s investigation has a direct relationship

to the political process. This prosecution involves the President’s former campaign manager. As

a result, for many Americans, Mr. Manafort’s legal issues and the attendant daily media coverage

have become theatre in the continuing controversy surrounding President Trump and his election.

This controversy continues to engender strong partisans on all sides of every issue. As a result, it

is difficult, if not impossible, to divorce the issues in this case from the political views of potential

jurors.

          Third, the high profile of the Special Counsel himself, a former FBI Director, has turned

the investigation into something the media has portrayed as a showdown between Mr. Mueller on

one hand and the President on the other. Mr. Manafort as the first person tried and convicted by

the Special Counsel’s Office, has become an unwilling player in the larger drama between Mr.

Mueller and President Trump.

          Fourth, the reporting on this prosecution has often been sensationalized and untethered

from the facts in the case. For example, while the recent indictment of Konstantin Kilimnik,

involved little more than an effort to make contact with a former associate, the reporting about Mr.

Kilimnik has focused primarily on his alleged background in Russian intelligence.1 Similarly,

while the Virginia trial barely touched on issues relating to the presidential campaign, the news

media barely goes a day without drawing a connection between the two.




1
  See, e.g., Russian charged with Trump’s ex-campaign chief is key figure, The Washington Post, July 2, 2018.
Available at: https://www.washingtonpost.com/politics/russian-charged-with-trumps-ex-campaign-chief-is-key-
figure/2018/07/02/c34bfc74-7e1c-11e8-a63f-7b5d2aba7ac5_story.html?utm_term=.3d9d016fd126


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        Fifth, on June 15, 2018, this Court revoked Mr. Manafort’s release and remanded him into

custody. This event unleashed a spate of intensely negative news coverage suggesting that Mr.

Manafort violated the law.2 Indeed, even the President’s response on Twitter; observed that Mr.

Manafort received a “tough sentence,” incorrectly suggesting that Mr. Manafort had been

sentenced for committing a crime.3

        Sixth, while this matter has received national media attention, the coverage, and the degree

to which the public has followed that coverage, has been most intense in and around Washington,

D.C.

        Finally, Mr. Manafort’s recently concluded trial in the United States District Court for the

Eastern District of Virginia and his conviction on eight felony counts has resulted in intensely

negative media coverage that reached new heights in the last week. The conclusion of that trial

less than four weeks prior to the start of jury selection in this case, presents new and increasingly

difficult challenges to Mr. Manafort’s effort to ensure a fair jury and a fair trial in this case.

        2. Applicable Law and Argument

        Under the Sixth Amendment, all criminal defendants have the right to trial by “indifferent”

jurors “free from outside influences,” who will “base their decision solely on the evidence,”

undisturbed by personal prejudice or public passion. Sheppard v. Maxwell, 384 U.S. 333, 362

(1966); Irvin v. Dowd, 366 U.S. 717, 722 (1961).




2
 Notably, this coverage included televised video of the van carrying Mr. Manafort arriving at the Northern Neck
Regional Jail. Available at: https://www.cnn.com/videos/politics/2018/06/16/paul-manafort-arrives-to-jail-ctn.cnn
3
  See ‘Very unfair!’: Trump complains about Manafort’s jailing on witness tampering allegations, The Washington
Post, June 15, 2018. Available at: https://www.washingtonpost.com/politics/nothing-to-do-with-our-campaign-
trump-seeks-to-distance-himself-from-manafort-before-hes-jailed/2018/06/15/79267402-70b7-11e8-bf86-
a2351b5ece99_story.html?utm_term=.1fcf5272051b


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       In Skilling v. United States, 561 U.S. 358 (2010), the Supreme Court reviewed the denial

of a change of venue motion in a high-profile white-collar crime prosecution. The government

charged Skilling, the former CEO of Enron Corporation, with more than 25 counts of securities

fraud, wire fraud, and making false statements in relation to Enron's financial strength. Id. at 369.

The trial took place in Houston, the site of the company's headquarters. Skilling filed a motion

seeking a change of venue, which the district court denied. Id. at 369-70. Following his

conviction, Skilling appealed, first to the Fifth Circuit and then to the Supreme Court, complaining

that the district court's failure to order a change of venue deprived him of a fair trial. Id. at 375-

377.

       The Supreme Court noted the extensive pre-trial publicity surrounding the Enron collapse,

which included not only hard-news stories but also special interest pieces mocking the Enron

executives and inciting sympathy for Enron investors. Id. at 375, n. 8. However, the Supreme

Court rejected Skilling’s claim holding that the record did not support a finding of presumed

prejudice and, as a result, “declining to order a venue change, did not exceed constitutional

limitations.” Id. at 383-85.

       In reaching this conclusion, the Court focused on the following factors and differentiated

Skilling from defendants in prior cases requiring a venue change. Specifically, the Court pointed

to: (1) the size and characteristics of the community; (2) whether the news stories contained

blatantly prejudicial information; (3) the time between the reported events and the trial; and (4)

evidence that the jury verdict undermined possible juror bias. Id. at 382-84.

       While the Court used these standards to evaluate error in the district court’s decision to

deny a change of venue, several of the factors support the requested change of venue in Mr.

Manafort’s case. First, as to the size and characteristics of the community, while Washington D.C.



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is a large city, the population of the District of Columbia is approximately 700,000 people. In

contrast, Houston is far more populous. The City of Houston has a population of approximately

2.3 million people and the population of the counties that comprise the Southern District of Texas’s

Houston Division totals more than 5.8 million people. Perhaps more importantly, while having a

substantial population, the individuals residing in the District of Columbia are far more likely to

have closely followed the developments and news coverage in the Manafort case in light

Washington’s status as the nation’s capital.                   This may be the rare case where a juror’s

predisposition may directly tie to their vote in the last presidential election. It is not a stretch to

expect that voters who supported Secretary Clinton would be predisposed against Mr. Manafort or

that voters who supported President Trump would be less inclined toward the Special Counsel.

Notably, however, voters in the Washington, D.C. voted in favor of Secretary Clinton (90.9%

Clinton; 4.1% Trump).4 This split is more balanced in other places such as Roanoke, Virginia,

located in the Western District of Virginia.

           A simple Google search for news articles about Russian collusion shows 707,000 results.

In fact, the amount of media coverage of the Special Counsel’s investigations is astounding. A

Google search for news articles relating to Paul Manafort reveals 8,300,000 results. Reviewing

these articles, one is hard pressed to find any that are not unfavorable to Mr. Manafort. The news

coverage here has contained prejudicial information, including coverage of Mr. Manafort’s recent




4
    See https://www.nytimes.com/elections/results/district-of-columbia


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jailing,5 allegations regarding connections with Russian intelligence,6 and, more recently, news

about Mr. Manafort’s trial and conviction in the Eastern District of Virginia.7 Indeed, a Google

search for news articles about Paul Manafort Conviction results in 2,510,000 hits. This coverage

has occurred since the conviction on August 21, 2018 – only one week ago.

         Nowhere in the country is the bias against Mr. Manafort more apparent than here in the

Washington, D.C. metropolitan area. The phrase “inside-the-beltway” was coined to capture the

area’s preoccupation with all things political. The Washington media market, including Maryland

and Virginia suburbs, is the sixth largest TV market in the United States with over 2,321,610 TV

homes. See Top 100 Media Markets, News Generation.8 The Washington, D.C. metropolitan area

has over 60 online news outlets in addition to websites run by major print and broadcast media

companies. Gloria & Hadge, An Information Case Study, Washington, D.C., New America




5
   See, e.g., Judge sends Paul Manafort to jail, pending trial, CNN, June 15, 2018.                 Available at:
https://www.cnn.com/2018/06/15/politics/judge-sends-paul-manafort-to-jail-pending-trial/index.html;

Judge Orders Paul Manafort Jailed Before Trial, Citing New Obstruction Charges, The New York Times, June 15,
2018. Available at: https://www.nytimes.com/2018/06/15/us/politics/manafort-bail-revoked-jail.html; and

Paul Manafort ordered to jail after witness-tampering charges, The Washington Post, June 15, 2018. Available at:
https://www.washingtonpost.com/local/public-safety/manafort-ordered-to-jail-after-witness-tampering-
charges/2018/06/15/ccc526cc-6e68-11e8-afd5-778aca903bbe_story.html?utm_term=.95bcb30d02c6
6
 See, e.g., Special counsel: Manafort, Gates worked with Russian intelligence agent, CBS News, March 28, 2018.
Available at: https://www.cbsnews.com/news/special-counsel-manafort-gates-worked-with-russian-intelligence-
agent/; and

Manafort and ally with Russian intel ties face new obstruction charges, CNN, June 8, 2018. Available at:
https://www.cnn.com/2018/06/08/politics/paul-manafort-indictment-robert-mueller/index.html
7
 See, e.g., Paul Manafort, Trump’s Former Campaign Chairman, Guilty of 8 Counts, The New York Times, August
21, 2018. Available at: https://www.nytimes.com/2018/08/21/us/politics/paul-manafort-trial-verdict.html; and

Paul Manafort found guilty on eight counts, CNN, August 21, 2018. Available at:
https://www.cnn.com/2018/08/21/politics/paul-manafort-trial-jury/index.html

8
  Available at: https://www.newsgeneration.com/broadcast-resources/top-100-radio-markets/ (last visited July 6,
2018).


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Foundation, Aug. 5, 2010.9 It ranks first in the nation in households with computers (82.9%) and

internet access (80% of adults receiving information online). For news consumption, the city’s

major mainstream print and broadcast outlets command the most online page views in the United

States. In comparison, Roanoke is the 70th largest media outlet in the United States and 38% of

households in Roanoke lack broadband compared to 3% in Northern Virginia. See John Edwards,

Bringing broadband to rural Virginia, The Roanoke Times, February 28, 2018.10 Roanoke

represents a venue where the media coverage is substantially less than in the D.C. metropolitan

area.

        The time between the reported events and the trial has been very short. Unlike in Skilling,

where the news coverage of the Enron bankruptcy more than four years before the trial had

diminished, the news coverage in Mr. Manafort case continues apace. Indeed, the news coverage

of the Special Counsel’s investigation (starting in May 2017); Mr. Manfort’s indictment in the

District of Columbia (October 2017); Mr. Manafort’s indictment in the Eastern District of Virginia

(February 2018); and Mr. Manafort’s remand into custody (June 2018) and Mr. Manafort’s

conviction (August 21, 2018), has all taken place in the year leading up to the scheduled September

17th trial. Moreover, some of the most prejudicial coverage has been in the last week. Based upon

all of these factors and the intense, unfavorable pretrial publicity, Mr. Manafort asks the Court to

transfer this matter to Roanoke Virginia, well outside of the Washington metropolitan area.

        In reviewing the Skilling trial for actual prejudice, and finding none, the Supreme Court

carefully reviewed and generally approved of the jury selection process used by the district court.


9
 Available at:
https://web.archive.org/web/20130909224854/http://mediapolicy.newamerica.net/publications/policy/an_informatio
n_community_case_study_washington_dc
10
  Available at:
https://www.roanoke.com/opinion/commentary/edwards-bringing-broadband-to-rural-virginia/article_b50ec107-
7b88-515d-ab44-e8d133c7a62b.html

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Id. at 386-98. The Supreme Court described the detailed questionnaire, which included 77-

questions over 14 pages that were generally open-ended allowing the jurors to provide meaningful

information. Id. at 371. The questionnaire was sent out to 400 prospective jurors. Id. at 372. The

Supreme Court demonstrated the importance of the questionnaires by finding they “confirmed that,

whatever community prejudice existed in Houston generally, Skilling’s juror were not under its

sway.” Id. at 391. In addition to the questionnaire, the Supreme Court favorably noted that the

district court in Skilling asked questions related to pretrial publicity to each juror individually. Id.

at 389.

          While recognizing the steps this Court has taken to attempt to select a fair and impartial

jury for the upcoming trial, given the amount of publicity and the close temporal proximity

between his recent conviction and the next trial, Mr. Manafort submits that a fair trial will

impossible without a change of venue to a more neutral and less media saturated locale such as

Roanoke, Virginia.

          WHEREFORE, Defendant Manafort respectfully requests that the Court transfer this case

from the District of Columbia to Roanoke, Virginia for trial.



Dated: August 29, 2018                                  Respectfully submitted,

                                                         /s/
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